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                                                 UNITED STATES DISTRICT COURT
                                                 EASTERN DISTRICT OF MICHIGAN
                                                      SOUTHERN DIVISION

                             UNITED STATES OF AMERICA,

                                                 Plaintiff,

                             vs.                                      Case Number: 06-20465-8
                                                                      Honorable Bernard A. Friedman

                             D-8 MISEAL GONZALEZ, et al

                                                 Defendant.

                             _____________________________________/
                             DANIEL J. BLANK (P 10873)
                             Attorney for Defendant
                             30150 Telegraph Road, Ste. 444
                             Bingham Farms, Michigan 48025
                             _____________________________________/

                                                              ORDER

                                                 At a session of said court, held in the
                                                 United States District Court, Eastern
                                                 District of Michigan, Southern Division,
                                                 on __October 30, 2006__________

                                   PRESENT: HONORABLE _Bernard A. Friedman
                                                      United States Judge

                                   Upon the reading and filing of the within Stipulation;
DANIEL J. BLANK
A PROFESSIONAL CORPORATION


30150 Telegraph Road               IT IS HEREBY ORDERED AND ADJUDGED that DANIEL J. BLANK
      Suite 444
 Bingham Farms, MI
    48025-4519               be and is hereby substituted in the place and stead of STEVEN WEISS, as
 Tel: 248/645-1466
 Fax: 248/645-1449
                             attorney for Defendant, Miseal Gonzalez in the above-entitled matter.



                                                               __s/Bernard A. Friedman________
                                                               United States Court Judge




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